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      Attorneys for defendants WHOLE
  7 FOODS MARKET SERVICES, INC.;
      WHOLE FOODS MARKET CALIFORNIA,
  8 INC.; and MRS. GOOCH’S NATURAL FOOD

  9 MARKETS, INC.

 10                        UNITED STATES DISTRICT COURT
 11                      CENTRAL DISTRICT OF CALIFORNIA
 12 SARA SAFARI, PEYMON                        Case No. 8:22-cv-01562-JWH (KESx)
    KHAGHANI, on behalf of themselves
 13 and all others similarly situated, and     DEFENDANTS’ REQUEST FOR
    FARM FORWARD, on behalf of the             JUDICIAL NOTICE IN
 14 general public,                            SUPPORT OF ITS
                                               SUPPLEMENTAL BRIEF ON ITS
 15              Plaintiffs,                   MOTION TO DISMISS
                                               PLAINTIFFS’ FIRST AMENDED
 16        v.                                  COMPLAINT
 17 WHOLE FOODS MARKET                         [Defendants’ Supplemental Brief in
      SERVICES, INC., a Delaware               Support of Its Motion to Dismiss
 18   corporation, WHOLE FOODS                 Plaintiffs’ First Amended Complaint
      MARKET CALIFORNIA, INC., a               filed concurrently herewith]
 19   California corporation, MRS.
      GOOCH’S NATURAL FOOD                     Date:     April 7, 2023
 20   MARKETS, INC., doing business as         Time:     9:00 AM
      Whole Foods Market, a California         Place:    411 West Fourth Street
 21   Corporation,                                       Courtroom 9D, 9th Floor
                                                         Santa Ana, California 92701
 22              Defendants.
                                               The Honorable John W. Holcomb
 23
                                               Complaint Filed: August 23, 2022
 24                                            Trial Date:      Not Set
 25

 26

 27

 28                                                            Case No. 8:22-CV-01562-JWH (KESx)
                                                               RNJ ISO SUPP. BRIEF ON MTD FAC
Case 8:22-cv-01562-JWH-KES     Document 56     Filed 03/27/23    Page 2 of 2 Page ID
                                    #:555



  1        Defendants Whole Foods Market Services, Inc., Whole Foods Market
  2 California, Inc. and Mrs. Gooch’s Natural Food Markets, Inc. (collectively

  3 “Defendants”) request that the Court take judicial notice of the following

  4 document and facts in connection with Defendants’ Supplemental Brief in

  5 Support of its Motion to Dismiss Plaintiffs’ First Amended Complaint and

  6 Plaintiffs’ Notice of Supplemental Authority:

  7        1.    The First Amended Complaint filed by Plaintiff Elizabeth
  8 Herniquez in the case Herniquez v. Aldi, Inc., Case No. 2:22-cv-06060-JLS-

  9 JEM, United States District Court, Central District of California. A true and

 10 correct copy of the First Amended Complaint is attached hereto as Exhibit 1.

 11        Judicial notice may be taken of documents filed and orders or decisions
 12 entered in any federal or state court proceeding. Fed. Rule Evid. 201;

 13 ReadyLink Healthcare, Inc. v. State Comp. Ins. Fund, 754 F.3d 754, 756 fn. 1

 14 (9th Cir. 2014); Trigueros v. Adams, 658 F.3d 983, 987 (9th Cir. 2011).

 15 Dated: March 27, 2023                 BLAXTER | BLACKMAN LLP
 16

 17
                                     By               /s/ Brian R. Blackman
 18                                                BRIAN R. BLACKMAN
                                           Attorneys for Defendants WHOLE FOODS
 19                                          MARKET SERVICES, INC.; WHOLE
                                            FOODS MARKET CALIFORNIA, INC.;
 20                                           MRS. GOOCH’S NATURAL FOOD
                                                        MARKETS, INC.
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                                             -1-                Case No. 8:22-CV-01562-JWH (KESx)
                                                                RNJ ISO SUPP. BRIEF ON MTD FAC
